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                          IN THE UNITED STATES DISTRICT COURT  
                          FOR THE MIDDLE DISTRICT OF GEORGIA  
                                    MACON DIVISION 
 
    FLINT RIVERKEEPER, INC., et al., 

               Plaintiffs, 

    v.                                                         CIVIL ACTION NO.  
                                                                5:16‐cv‐00435‐TES 
    SOUTHERN MILLS, INC., d/b/a 
    TENCATE PROTECTIVE FABRICS,  

           Defendant. 


 
  ORDER GRANTING CONSENT MOTION TO EXTEND STAY OF LITIGATION 
______________________________________________________________________________ 
 
      Having reviewed the Parties’ Consent Motion to Extend Stay of Litigation [Doc. 

51], the Court GRANTS the Motion and ORDERS as follows: 

          1.       This  Case  is  hereby  STAYED  until  August  15,  2018,  subject  to  the 

                   conditions below: 

          2.       During  the  pendency  of  the  stay,  the  Parties  shall  work  in  good  faith  to 

                   reach an amicable resolution of this matter; 

          3.       The Parties will inform the Court of their progress during the stay by filing 

                   a Joint Status Report every month during the pendency of the stay, which 

                   is due by the 15th day of each month (or the first business day thereafter), 

                   with the first report to be filed on or before May 15, 2018; 
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4.       With regard to any document that is within the scope of the Parties’ initial 

         written  requests  and  deemed  necessary  to  the  efficient  prosecution  of  a 

         solution, the Parties may seek relief from the Court pursuant to the Court’s 

         Scheduling Order [Doc. 34, ¶ IV(H)]; 

         a.     Paragraph  IV(H)  of the  Scheduling  Order  [Doc.  34]  is  amended  to 

                state as follows: 

                Before moving for an order relating to discovery, including motions 
                to  compel  or  contested  motions  for  protective  orders,  the  movant 
                must contact Cheryl Collins, Courtroom Deputy, at (478) 752‐2603 
                to request a telephone conference with the Court.  

5.       Plaintiffs’  time  to  respond  to  TenCate’s  Counterclaim  [Doc.  21]  remains 

         extended day for day during the pendency of the stay. If Plaintiffs renew 

         their Motion to Dismiss TenCate’s Counterclaim [Doc. 26], the Parties shall 

         stand  on  their  respective  existing  filings  with  respect  to  the  Motion  to 

         Dismiss and shall not file additional materials without leave of Court; 

6.       Either party may move for a dissolution of the stay at any time during its 

         pendency,  provided  that  such  motion  shall  include  a  certification  by 

         Counsel that they attempted in good faith to resolve any impasse prior to 

         the filing of such motion; 

7.       The Court may direct that the stay be lifted or that the Parties supplement 

         their Joint Status Reports at any time and at its own discretion;  

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    8.       Either party may move for an extension of the stay at any time during its 

             pendency, provided that the motion include a statement of the grounds for 

             the requested extension and a certification that the Parties continue to work 

             in good faith toward a resolution of this matter; and 

    9.       If this matter is not resolved during the pendency of the stay or during any 

             further extension of the stay granted by the Court, the Court shall set a Case 

             Management Conference to establish new deadlines for the conduct of this 

             action.  

    SO ORDERED, this 11th day of April, 2018.  

                                                          _/s/ Tilman E. Self__________________ 
                                                          TILMAN E. SELF, III, JUDGE 
                                                          UNITED STATES DISTRICT COURT 




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